 

Case 2:04-cr-00425-GHK Document 232 Filed 11/10/05 Page1of1 Page ID #:190

 

 

 

 

Priority
UNITED STATES DISTRICT COURT Send
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CENTRAL DISTRICT OF CALIFORNIA Closed
JS-5/JS-6 __
CRIMINAL MINUTES - CHANGE OF PLEA JS-2/J853 e
Scan Qnty.
‘CaseNo- — CR04-425(C)-AHM Date’ «> November 10, 2005 4
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Present: The Honérable A. HOWARD MATZ
Interpreter N/A
Stephen Montes Leslie A. King Garth Hire/Rosella Oliver
Deputy Clerk Court Reporter/Recorder, Tape No. ” Assistant US, Attorney
U.S.A: v. Defendant(s): . _ Present Cust. Bond | Attorneys for. Defendants: - Present, App. Ret!
(4) Sylas Glenn Brownridge v v (4) Darlene Richer v v

(1) FURTHER PRE-TRIAL STATUS CONFERENCE
Proceedings: (2) CHANGE OF PLEA

X. Defendant moves to change plea to the Third Superseding Indictment.
X_ Defendant sworn.

X__ Defendant now enters a new and different plea of Guilty to Counts 1, 2, 3, 10, and 11 of
the Third Superseding Indictment.

X_ The Court questions the defendant regarding plea of Guilty and finds it knowledgeable
and voluntary and orders the plea accepted and entered.

X__ The Court refers the defendant to the Probation Office for investigation and report and
continues the matter to March 23, 2006, 2006 at 3:00 p.m, for sentencing.

 

X_ Court incorporates by reference the plea agreement onto the record of this hearing.

 

 

cc: USPO, PSA, USMO

 

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